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          10                          UNITED STATES DISTRICT COURT
          11                        CENTRAL DISTRICT OF CALIFORNIA
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          13     ROLAND CORPORATION, a Japanese Case No: CV 08-04785 GAF(MANx)
                 corporation
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                             Plaintiff,
          15                                                ORDER GRANTING STIPULATED
                       vs.                                  CONSENT JUDGMENT AND
          16                                                PERMANENT INJUNCTION
             WIRGES PERCUSSION SYSTEMS
          17 LLC, an Arkansas limited liability
             company,
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                             Defendant.
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                                                                     ORDER GRANTING STIPULATED
                                                     CONSENT JUDGMENT AND PERMANENT INJUNCTION
                                                                   CASE NO. CV 08-04785 GAF(MANx)
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            1          By agreement and consent to the terms set forth herein by the parties hereto,
            2 Plaintiff Roland Corporation and Defendant Wirges Percussion Systems LLC

            3 (individually or collectively “Wirges”)—and full settlement of all claims having

            4 been reached, this Court hereby, ORDERS, ADJUDGES AND DECREES THAT:

            5          1.     This Court has jurisdiction over the Parties and the subject matter of
            6 this action, and venue is proper in the Central District of California.

            7          2.     The parties so agreeing, Roland Corporation is the owner of United
            8 States Patent No. 6,121,538 (the “’538 patent”) entitled Electronic Percussion

            9 Instrumental System and Percussion Detecting Apparatus Therein was duly and

          10 legally issued on September 19, 2000. Roland owns all right, title, and interest in

          11 the ’538 patent. The ‘538 patent currently is not invalid, is enforceable, and is

          12 subsisting.

          13           3.     The ’538 patent is referred to herein as the “patent-in-suit.”
          14           4.     The parties have settled all of their claims in the above-styled matter.

          15           5.     By stipulation of the Parties, a Permanent Injunction is herby entered

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                 in the present case, permanently restraining and enjoining Defendant Wirges and
                 any and all persons in active concert or participation with, through, or under them
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                 including all their officers, directors, agents, servants, employees, attorneys,
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                 representatives, successors and assigns, from directly or indirectly engaging in any
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                 conduct to make, use, offer to sell or sell within the United States or import into
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                 the United States any product that is covered by one or more unexpired valid claim
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                 in any one or more of U.S. Patent Nos. 6,121,538, 6,271,458, 6,756,535, 6,921,857
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                 and 7,385,135, where a claim shall be presumed to be valid as long as it has not been
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                 held invalid by a U.S. court of competent jurisdiction in a final determination of
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                 invalidity from which no appeal is available.
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                       6.     By stipulation of the Parties, Wirges is ordered to cooperate and comply
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                 with Roland and its counsel in accordance with terms of their Settlement Agreement,
          27 to remove from the website http://www.percussion-systems.com, any and all offers

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                                                                         ORDER GRANTING STIPULATED
                                                         CONSENT JUDGMENT AND PERMANENT INJUNCTION
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           1     for sale of any product that is covered by one or more of the claims in any one or
           2     more of U.S. Patent Nos. 6,121,538, 6,271,458, 6,756,535, 6,921,857 and 7,385,135.
           3           7. This court retains jurisdiction to consider, upon application by any party,
           4     any violation of the terms of this order and Judgment.
           5           8. This court also retains jurisdiction to consider and determine any breach
           6     of the Settlement Agreement and Release entered into between the parties hereto
           7     and those parties agree that any matter arising out of or relating to that Settlement
           8     Agreement shall be litigated in this Court.
                       IT IS SO ORDERED.
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                 DATED: June 11, 2009
          11                                                   Gary Allen Feess
                                                               United States District Judge
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                                                                         ORDER GRANTING STIPULATED
                                                         CONSENT JUDGMENT AND PERMANENT INJUNCTION
                                                                                CV 08-04785 GAF(MANx)
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